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                                              UNITED STATES DISTRICT COURT
                                              SOUTHERN DISTRICT OF FLORIDA

                                       CASE NO. 21-60125-CIV-SCOLA/GOODMAN

   JIANGMEN BENLIDA PRINTED
   CIRCUIT CO., LTD.,

              Plaintiff,

   v.

   CIRCUITRONIX LLC,

         Defendant,
   ____________________________________/

                            CIRCUITRONIX, LLC’S OMNIBUS MOTION IN LIMINE
                               AND INCORPORATED MEMORANDUM OF LAW

              Circuitronix, LLC (“CTX”) moves, pursuant to Local Rule 7.1, Federal Rule of Civil

   Procedure 8(c) and 37(c)(1), Federal Rules of Evidence 401, 402 and 403, and the Third

   Amended Scheduling Order (DE 153), and requests the Court to enter an Order precluding

   Benlida from arguing or seeking to introduce evidence at trial concerning the following

   inadmissible, irrelevant, prejudicial, or otherwise improper subjects, for the reasons set forth

   herein:

              1. Any damages computation beyond that pled in the complaint;
              2. Debts Circuitronix (Hong Kong) Ltd., a non-party, allegedly owes to Benlida;
              3. Debts barred by the statute of limitations;
              4. Records of CTX’s account that Benlida did not produce during discovery;
              5. CTX’s experts’ testimony regarding “related party” status;
              6. Assertions contradicting Benlida’s judicial admissions;
              7. References to the parties’ other lawsuits or alleged litigiousness;
              8. The 2022 settlement agreement and CTX’s termination thereof; and
              9. Benlida’s (or ROK’s) entire print-run of invoices.



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                                                  MEMORANDUM OF LAW

              Benlida should be precluded from arguing or introducing evidence about the following

   subjects at trial, for the particular reasons discussed for each category.

              1. Any Damages Computation Beyond That Pled in the Complaint

              Benlida should be barred from introducing evidence of its damages computation beyond

   that pled in the complaint as a sanction for failure to disclose that computation. CTX advanced a

   similar argument in its Motion for Summary Judgment briefing. See DE 184-1 at 3-15; DE 193

   (Reply) at 7-8. If the Court grants CTX’s summary-judgment motion on Benlida’s claim for

   damages against CTX, then the argument here becomes moot. If, however, the Court finds

   summary judgment inappropriate as to any part of that claim, the Court should nonetheless

   prohibit Benlida from introducing evidence or arguing about its calculation of its damages

   beyond the rudimentary arithmetic it pled in the Third Amended Complaint.

              Benlida neglected its obligation to disclose a computation of those damages in

   contravention of its obligations under Rule 26. A party’s initial disclosures must provide “a

   computation of each category of damages claimed.” Fed. R. Civ. P. 26(a)(1)(A)(iii). A party

   must then supplement or correct the disclosures “in a timely manner if the party learns that in

   some material respect the disclosure or response is incomplete or incorrect.” Fed. R. Civ. P.

   26(e)(1)(A). Benlida ignored these obligations, as it failed to disclose a damages computation in

   its initial disclosure, and never supplemented its deficient initial disclosure, even though CTX

   supplemented its damages computation for its counterclaim twice after the stay in this case was

   lifted, on May 31, 2023 and June 26, 2023 (in advance of Mr. Kukreja’s initial and continued

   depositions, respectively). See Ex. 1; Ex. 2.




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              The only number Benlida mentioned in its initial disclosure of its damages “computation”

   was the grand total it seeks in its complaint: “$13,655,335.93,” not including prejudgment

   interest, costs and attorney’s fees. Compare DE 177-1 at 43 (initial disclosure), with DE 26

   (Third Am. Compl. (“complaint”)), ¶ 8. Looking back to the complaint, CTX is able to discern

   nothing more than that $13.6 million figure is comprised of the sum of the alleged amount of

   hundreds of invoices Benlida claims to be unpaid ($11,539,408.36) “plus $2,115,927.57”

   representing an undisclosed summation of a claimed price increase. DE 26, ¶ 437.

              That superficial calculation (which is not even contained in Benlida’s initial disclosure) is

   useless in the context of this case because, as Benlida has admitted, during the regular course of

   business, CTX paid Benlida even more than the claimed amount of the invoices sent to CTX and

   even specified to Benlida that those payments should be applied to the very invoices Benlida is

   claiming remain unpaid. See DE 177-1 at 54 (Benlida’s Ans. to Interrog. No. 14); Ex. 5 (Tracy

   Huang Depo. Transcript) at 253:6-254:3, 261:7-262:24; DE 177-6 (Decl. of Lina Ochoa) at ¶¶ 3-

   6. So the complaint and initial disclosure left CTX completely in the dark as to how Benlida

   could possibly claim that those invoices could be considered unpaid. Benlida must have been

   using some secret accounting methodology. What it was Benlida did not say.

              Discovery failed to compensate for Benlida’s failure to disclose its own damages

   computation, due primarily to Benlida’s obstructionism. Benlida delayed divulging key

   information about its accounting practice and claimed damages until the tail-end of the discovery

   period, depriving CTX of an opportunity to take critical follow-up discovery and to engage its

   accounting experts to review and opine about it.1



   1
    Due to Benlida’s delay tactics, CTX did not receive responses to its interrogatories seeking to
   discover Benlida’s accounting methodology and how it applied CTX’s payments, until May 17,
   2023, just weeks before the close of fact discovery. See DE 193 at 8 n.9. CTX had propounded

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              And what Benlida did produce left essential questions unanswered, with discovery

   closed. Benlida’s single spreadsheet of commingled invoices and payments for CTX and CTX-

   HK does not isolate Benlida’s invoices to CTX and payments received from CTX, leaving it a

   mystery which CTX invoices remained unpaid as of May 31, 2020, the supposed “cut-off date”

   Benlida used to identify allegedly unpaid invoices for purposes of its complaint. See DE 177-1

   (Benlida’s Interrog. Answer) at 76; Ex. 3 (Wu Depo.) at 45:12-46:4.2 Had Benlida provided

   CTX that information, or even just divulged its commingled-FIFO allocation earlier than May

   17, 2023, CTX could have engaged its expert accountants to opine on the propriety and



   an interrogatory in April 2022 asking how Benlida computed the $11.5 million figure the
   complaint alleged to be “the invoiced amount.” See DE 185-1 at 5 (No. 4). Benlida delayed in
   responding until May 17, 2023. See DE 192-1, ¶ 2. Benlida’s CFO ultimately testified (on May
   24, 2023) that the $11.5 million figure actually included records of aggregate invoices from both
   Benlida and ROK to both CTX and CTX-HK. Ex. 3 (Roger Wu Depo. Transcript) at 235:13-
   237:4. Benlida did not produce any bookkeeping record of how it applied CTX’s payments until
   May 25, 2023, after CTX discovered its existence during the deposition of Mr. Wu. While CTX
   was able to question the author of that spreadsheet, Ms. Chen, the next day, CTX had to wait to
   question the CFO about it until July 12, 2023, during a follow-up deposition, limited to one hour.
   Benlida’s refusal to produce its witnesses in Florida for depositions as noticed in March and
   April 2022, see DE 66 at 2, deprived CTX of the opportunity to question Benlida’s witnesses
   about its damages until this compressed time frame in May 2023 after the stay in this case was
   lifted.
   2
     We say “supposed” because Benlida’s own testimony about the date it used to calculate which
   invoices remained unpaid was inconsistent. Its bookkeeper who maintained the commingled
   spreadsheet testified that in December 2020 she applied a payment reflecting that the invoice
   from December 21, 2018—the one immediately preceding the earliest invoice listed in the
   complaint—was fully paid. Ex. 4 (Chen Zhanjiao Depo. Transcript.) at 124:20-125:21
   (explaining Ms. Chen’s process in inputting payments and confirming the last fully paid invoice
   from December 21, 2018), 129:7-20 (indicating she marked that invoice as fully paid in
   December 2020). The unpaid invoices in her spreadsheet correspond to the invoices Benlida lists
   in the complaint as unpaid.
           It is difficult to square that testimony with Benlida’s CFO’s testimony (which is
   consistent with Benlida’s interrogatory answer) that it calculated which invoices were unpaid as
   of May 31, 2020. If that is true, how is it possible that seven months later, Ms. Chen was still
   working on Benlida’s accounting record for CTX, and only making the allocation that designated
   the December 29, 2018 invoice as unpaid in December 2020? That remains completely unclear,
   and Benlida has (despite request) not produced a version of its spreadsheet as of May 31, 2020.

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   implications of that practice. Because Benlida did not comply with its discovery obligations,

   CTX has been deprived of the opportunity to have its accounting experts study the issue and

   formulate opinions about it that can be used at trial.

              Nor did Benlida disclose how it computed the figure of $2,115,927.57 for “price

   increases.” DE 26, ¶ 437. CTX had propounded an interrogatory in April 2022 specifically

   asking how Benlida computed this figure. See DE 185-1 at 5 (No. 3). Benlida delayed

   answering until May 17, 2023. See DE 192-1, ¶ 2. Rather than disaggregating the figure for

   CTX only, as the interrogatory requested, Benlida answered with combined figures for CTX and

   CTX-HK. Ex. 5 (Huang Depo.) at 47:2-48:2. Ms. Huang testified that the figure derived from a

   spreadsheet it had sent to CTX in 2019 stating the amount was $3.3 million, but Benlida later

   discovered that its figure was overstated by one-third, and the correct number was $2.11 million.

   Id. at 51:16-25. Benlida never revealed that error until it served its interrogatory answer on May

   17, 2023. See id. at 52:1-6. While CTX was able to locate that spreadsheet during Ms. Huang’s

   deposition, with some difficulty, see id. at 106:4-108:25, 129:14-135:12, 140:8-141:1, CTX

   remains in the dark about how Benlida computed the reduction from $3.3 million to $2.11

   million.

              The rules provide for a sanction where a party fails to make required disclosures and to

   supplement them: “the party is not allowed to use [the undisclosed] information … at a trial,

   unless the failure was substantially justified or is harmless.” Fed. R. Civ. P. 37(c)(1). The Court

   should impose that evidentiary sanction here. First, there is no justification for Benlida’s failure

   to comply with this basic disclosure obligation. Indeed, when Benlida may have had a last-gasp

   opportunity to proffer one, in response to CTX’s summary-judgment motion, it passed. See DE




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   193 at 7. The unjustified omission appears to have been deliberate3 because, during the course of

   the parties’ business dealings before this lawsuit, Benlida knew that even though CTX expected

   Benlida to apply its payments on invoices in the manner specified on the monthly payment

   details CTX sent to Benlida, Benlida was nonetheless secretly applying the funds in a vastly

   different manner. See Ex. 5 (Huang Depo.) at 253:6-254:3, 324:11-325:14, 326:5-327:3; Ex. 3

   (Wu Depo.) at 69:2-16.

              Second, the non-disclosure has not been harmless, for the reasons discussed above.4 Had

   Benlida timely disclosed its computation methodologies, CTX could have used the discovery

   process to explore it and its forensic accounting experts to address it. This is precisely the kind

   of deprivation that has recently been recognized as harmful under Rule 37 by Judge Altman and

   the Eleventh Circuit. See Vital Pharms., Inc. v. Monster Energy Co., No. 19-60809-CIV-

   ALTMAN/Hunt, 2020 WL 13513442, at *2 (S.D. Fla. May 19, 2020) (“Because the Plaintiff …

   failed to disclose its damages computation, the Defendants are in the unenviable position of

   having to guess at … the methodology the Plaintiff will use for computing … damages. Worse,

   the Defendants had no opportunity to test the Plaintiff’s theory in discovery—by, for example,

   requesting relevant evidence, developing targeting expert testimony, or subjecting the Plaintiff’s

   theory to scrutiny.”), aff’d, Vital Pharms., Inc. v. Monster Energy Co., No. 21-13264, 2022 WL

   3083273, at *3-4 (11th Cir. Aug. 3, 2022).5



   3
       Not by counsel, but by Benlida, whom we presume was aware of its disclosure obligations.
   4
    The Court has discretion to impose a sanction under Rule 37 even if it does not find Benlida’s
   omission to have been unjustified or harmful. See Circuitronix LLC v. Kinwong Electronic
   (Hong Kong) Co. Ltd., 993 F.3d 1299, 1308 (11th Cir. 2021).
   5
    See also Circuitronix, 993 F.3d at 1308 (affirming exclusion of damages for lost profits in
   breach of contract claim for failure to disclose a damages computation); Mee Indus. v. Dow
   Chem. Co., 608 F.3d 1202, 1221–22 (11th Cir. 2010) (affirming exclusion of damages evidence

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              Accordingly, the Court should preclude Benlida from introducing evidence or arguing

   about its computation of its claimed damages beyond the rudimentary numbers it pled in its

   Third Amended Complaint. The only exception should be a reduction in its claim by the

   amounts which it expressly represented in a recent submission “are withdrawn.” DE 188 at 11

   n.8.6

              2. Debts CTX-HK Allegedly Owes to Benlida

              Benlida has sued one company, Circuitronix, LLC (“CTX”), yet its complaint seeks

   damages for alleged non-payment of numerous invoices sent to a different company, Circuitronix

   (Hong Kong) Ltd. (“CTX-HK”). See Ex. 5 (Huang Depo.) at 26:13-27:7 (acknowledging they

   are different companies). As CTX has explained in detail in its motion for summary judgment,

   Benlida never pled any theory by which CTX could be held legally responsible for debts of

   CTX-HK; indeed, the complaint does not even mention CTX-HK at all. See DE 184-1 at 4.

   Benlida has since sought to rely on two unpled theories: agency and alter ego. DE 188 at 2, 4,

   6-10. Benlida should be estopped from doing so because it failed to plead these theories.




   due to Plaintiff’s failure to disclose a computation of those damages); City of Rome v. Hotels.com,
   L.P., 549 F. App’x 896, 905 (11th Cir. 2013) (same); Ctr. for Indiv. Rights v. Chevaldina, No. 16-
   cv-20905-EGT, 2018 WL 2432109, at *10-11 (S.D. Fla. May 30, 2018) (precluding a party from
   introducing “any evidence of damages” under Rule 37 based on her “fail[ure] to timely disclose
   here computations for actual damages”); Boldstar Tech., LLC v. Home Depot USA, Inc., No. 07-
   80435-CIV, 2008 WL 11320010, at *2 (S.D. Fla. Feb. 28, 2008) (stating “parties must perform
   ‘some analysis’ and cannot rely on general statements” to comply with their Rule 26 obligations)
   (citation omitted).
   6
     Benlida stated that paragraph 13 of its complaint, which claimed $34,608.09 was unpaid on an
   invoice to CTX (DE 26, ¶13), should be reduced to $13,548.66, and that Benlida’s claims
   directed to the first three invoices to Circuitronix (Hong Kong) Ltd. (“CTX-HK”) “are
   withdrawn.” DE 188 at 11 n.8 (citing TAC, ¶¶ 261, 262, 263). The amounts Benlida had
   claimed on those three invoices are $96,396.08, $82,678.18, and $30,611.09, respectively. See
   DE 26, ¶¶ 261, 262, 263.


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   Because CTX has briefed this precise argument in detail in its summary-judgment papers, it

   respectfully refers the Court to that discussion. See DE 184-1 at 7-8; DE 193 at 1-4.

              Beyond the pleading deficiency, Benlida’s reliance on a 2014 “Business Authorization”

   letter signed by CTX’s CEO, Rishi Kukreja, cannot support an agency theory. As a matter of

   law, whatever the scope of the promise made in the 2014 document, it was superseded by a 2016

   contract between the parties, which contains an integration clause that obviates any prior

   agreements (other than the 2012 Manufacturing Agreement). See DE 177-1 (2016 Letter

   Agreement) at 3, ¶ 6; DE 184-1 at 9-11 (explaining the effect of the integration clause); DE 193

   at 4-5 (same).

              Without any legal basis in the case to make evidence or argument about CTX-HK’s debts

   to Benlida relevant to the claims Benlida has asserted against CTX, that subject should be

   excluded. See Fed. R. Evid. 401, 403. That prohibition would extend to a number of documents

   Benlida may seek to introduce, such as (a) invoices it sent to CTX-HK and (b) two documents

   from CTX-HK’s outside auditing firm stating debts owed to Benlida.7 For the same reasons,

   Benlida should also not be permitted to introduce evidence or argue about two additional

   subjects: (c) that CTX and CTX-HK somehow operate as the same company, and (d) the 2014

   Business Authorization authorized Benlida to look to CTX to pay CTX-HK’s debts.



   7
     As to one of the documents in category (b) there is a separate reason for its preclusion. During
   the deposition of CTX’s accounting experts on July 31 and August 1, 2023, Benlida’s counsel
   utilized two documents that Benlida had not produced during discovery, letters from CTX-HK’s
   outside auditor firm, marked as deposition exhibits 162 and 163. Deposition exhibit 162 is dated
   August 18, 2022, but Benlida did not produce it during discovery, despite CTX having
   propounded a request for Benlida to produce “[a]ll documents … that Benlida may use to
   support its claims or defenses.” DE 192-3 at 6 (No. 1). The fact-discovery period ended on June
   8, 2023. DE 153 at 1. On June 20, 2023, Benlida served CTX with its Local Rule 26.1(e)(7)
   notice of completion of production. Because Benlida neglected to produce the August 18, 2022
   document during discovery, it should be prohibited from using or referring to it at trial.


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              3. Debts Barred by the Statute of Limitations

              CTX has been able to discern that a substantial portion of the amount Benlida is suing for

   is barred by the applicable statutes of limitations.8 CTX has asserted a statute of limitations

   defense. DE 34 at 4. The limitations period for a breach of a written contract is five years and

   for account stated, four years. §§ 95.11(2)(b), (3)(k), Fla. Stat. Benlida filed suit on January 19,

   2021. DE 1. Therefore, any debts that were due before January 19, 2017 fall outside the statute

   of limitations for Benlida’s account stated claim (Count II), and any debts that were due before

   January 19, 2016 fall outside the statute of limitations for Benlida’s breach of contract claim

   (Count I).

              It is now apparent that Benlida has calculated its damages using a start date of the

   beginning of the parties’ business relationship from at least as far back as 2012. Benlida’s CFO

   testified that Benlida calculated the claimed amounts owed by looking back even to 2011. Ex. 3

   (Wu Depo.) at 235:5-12. Benlida’s expert, Mr. Paulikens testified that “CTX-HK underpaid by

   $13.5 million.” Ex. 6 (Randall Paulikens Deposition Transcript) at 183:23-24. He based that

   conclusion on the following chart in his report, which identifies a balance due of $13,492,823.58

   by looking back to 2012:




   8
     CTX was unable to discern what alleged debts fell outside the statutes of limitations at the time
   it filed its motion for summary judgment (on June 10, 2023). See DE 178 at 15; see also DE
   184-1 (version with ECF citations) at 15. But after Benlida disclosed its rebuttal expert (on July
   8, 2023) and CTX deposed him (on July 20, 2023), it became ascertainable.

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   See Ex. 7 (Paulikens Report) at 8 (rectangles added); Ex. 6 (Paulikens Depo.) at 65:12-71:22

   (discussing his reliance on this chart for the $13.5 million figure); id. at 183:14-24. The source

   of data for the amounts in this chart for invoices, payments, and balance due was Benlida’s own

   accounting department.9 As can be seen from the chart (and the one in the footnote below),


   9
    The Paulikens report listed as his source for this chart an Excel spreadsheet entitled “Benlida
   Shipment and Payment Details CTX-HK_2012-2019.” See Ex. 6 (Paulikens Depo.) at 70:3-
   71:22 (identifying the native Excel spreadsheet which was marked as deposition exhibit 146).
   Deposition exhibit 146 (attached as Ex. 8 hereto) contains this summary table:




   That table was prepared by Benlida’s accounting department in 2019 and sent to CTX
   contemporaneously. See Ex. 9 (deposition exhibit 87 (email showing first attachment as
   “Benlida Shipment and Payment Details CTX-HK_2012-2019.xlsx”)). The email states,
   “[p]lease … see attachment ‘Benlida Shipment and Payment Details CTX-HK_2012-2019’ for
   our records of the transactions between Benlida and CTX-HK.” Id. (emphasis added). Benlida’s

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   Benlida has counted the balances it claims CTX-HK owes it from years before the statutes of

   limitations.

              Drawing directly from that source, the claimed debts that were due outside the statutes of

   limitations can be calculated as follows:

                  Year        Balance Due ($)
                  2012              50,844.68
                  2013             380,663.41
                  2014           1,335,058.11
                  2015             906,612.10 2012-2015 (outside 4-year SOL) =>                                            2,673,178.30
                  2016           1,876,449.42 2012-2016 (outside 5-year SOL) =>                                            4,549,627.72

   In other words, Benlida is relying on $4,549,627 of debts that became due outside the statute of

   limitations for its account stated claim and $2,673,178 of debts that became due outside the

   statute of limitations for its breach of contract claim.

              Applying the bar of the statutes of limitations to Benlida’s claims must take into account

   the way in which Benlida designated which invoices in the complaint are unpaid. Benlida used a

   commingled-FIFO accounting methodology, in which it combined the debts to and payments

   received from CTX and CTX-HK to allocate payments from both companies to the combined

   claimed debt total.10 Then, using its commingled-FIFO methodology, it designated the invoices

   chronologically (after the ones that had been fully paid) as “unpaid” for purposes of this lawsuit.

   See DE 177-1 at 66 (Ans. to Interrog. No. 1). In other words, the sued-upon invoices are only

   “unpaid” because Benlida applied the money CTX (or CTX-HK) had paid towards them to

   earlier invoices Benlida had issued to either company. Therefore, to take the statutes of



   bookkeeper, Ms. Chen, sent the email. Ex. 4 (Chen Depo.) at 152:22-154:7 (adding, “my job
   was to do a comparison between our own records … and [CTX’s] records”).
   10
     See Ex. 5 (Huang Depo.) at 248:11-22, 249:6-18; Ex. 3 (Wu Depo.) at 184:23-185:5, 186:4-15,
   189:17-20, 193:4-7.


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   limitations into account, it is necessary to add up the stated values of the invoices in the

   complaint, in chronological order, until they approach, first, the amount barred by the four-year

   statute of limitations for a breach of contract claim ($2,673,178).11 CTX has added up those

   invoices in chronological order, and the affected (time-barred) invoices are paragraphs 13-36

   (invoices to CTX) and paragraphs 261-282 (invoices to CTX-HK). See Ex. 10 (CTX’s “TAC

   Invoices Affected by SOL” Chart).12 The invoices that add up to that amount rely on debts that

   were due before that statute of limitations, so evidence and argument concerning those invoices

   should be excluded from trial on Benlida’s breach of contract claim.

              Similarly, the summation of the invoice amounts must continue up to the amount barred

   by the shorter four-year statute of limitations for an account stated claim ($4,549,627). That

   extends the span of time-barred invoices for that claim to paragraphs 13-66 (invoices to CTX)

   and paragraphs 261-298 (invoices to CTX-HK).13 Since those invoices rely on debts that were

   due before that statute of limitations, evidence and argument concerning those invoices should be

   excluded from trial on Benlida’s account stated claim.

              4. Records of CTX’s Account That Benlida Did Not Produce During Discovery

              CTX sought during discovery Benlida’s records of CTX’s account with the company.14

   Benlida did not produce any ledgers or spreadsheets showing that account until the final weeks




   11
     If the Court grants CTX’s motion for summary judgment and excludes CTX-HK invoices, then
   the summation should be done solely against invoices to CTX in the complaint, as to each cause
   of action (account stated and breach of contract).
   12
        The total of those affected invoices is $2,623,608.96.
   13
        The total of those affected invoices is $4,520,901.24.
   14
     See, e.g., Ex. 11 (1st Set of RFP), No. 11 (“All documents showing how Benlida allocated
   payments from CTX to specific invoices.”); No. 14 (“All documents … regarding debts

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   of the discovery period, in late May 2023. Benlida’s CFO, “Roger” Wu, testified that Benlida

   maintained two sets of records of CTX’s account, one separate for CTX, and one combined with

   CTX-HK. Ex. 3 (Wu Depo.) at 212:1-6. He testified that the segregated account records existed

   on a computer system called “Jindie.” The other, an Excel spreadsheet maintained by Ms. Chen,

   a bookkeeper in the Finance Department, which commingled CTX’s account with that of CTX-

   HK, was produced on May 24, 2023. When CTX pressed Benlida to produce historical records

   of CTX’s account from the Jindie system, Benlida through counsel represented that they did not

   exist save for what had been extracted from time to time and transferred to continually updated

   spreadsheets and emails. See Ex. 12 (Letter from R. Lerner to S. Rosenthal dated June 5, 2023)

   at 3. Similarly, when Benlida sought historical versions of Ms. Chen’s spreadsheet, Benlida

   demurred that none exist because the spreadsheet was updated on a rolling basis. Id. at 1.

              Consistent with Benlida’s representations, and because CTX has been denied access to

   such records, Benlida should not be permitted to introduce any unproduced documents or

   testimony based on such documents concerning the status of CTX’s account in Benlida’s records.


              5. CTX’s experts’ testimony regarding “related party” status

              During the deposition of CTX’s accounting experts, Benlida’s counsel repeatedly

   inquired about factors that might inform whether CTX and CTX-HK are “related parties” from

   an accounting perspective.15 CTX’s experts did not include any opinion on this subject in their

   report—which was directed at CTX’s counterclaim against Benlida only—and indeed deferred

   any analysis regarding non-parties, CTX-HK and ROK, to an anticipated rebuttal report that they


   allegedly owed by CTX to Benlida, or debts owed by Benlida or ROK to CTX or CTX-HK.”);
   No. 16 (“All documents … regarding payments received from CTX.”).
   15
     Parisi’s and Mukamal’s deposition transcripts are not yet available. Counsel for CTX can
   supplement this filing with relevant pinpoint citations once the transcripts become available.

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   never had the opportunity to assemble because Benlida failed to disclose an initial report. CTX’s

   experts’ testimony in response to this line of questioning should be excluded as not relevant

   under Rule 401 and/or likely to confuse or mislead the jury under Rule 403.

              Because the factors that might inform whether corporate parties are “related” for

   accounting purposes are distinct from the legal factors pertinent to establishing a principal-agent

   relationship, alter ego status, or corporate control, the testimony is irrelevant to any of the claims

   or defenses Benlida might seek to make—specifically, that CTX-HK is CTX’s agent or alter ego,

   see DE 188 at 2-13. See In re Seroquel Prod. Liab. Litig., No. 6:06MD1769-ORL-22DAB, 2009

   WL 223140, at *5-6 (M.D. Fla. Jan. 30, 2009) (excluding evidence about foreign labeling and

   regulatory action related to a pharmaceutical drug because it had no relevance to the applicable

   warning standards in plaintiff’s main case and, more specifically, the “legal standards applicable

   under Florida law”) (citing Deviner v. Electrolux Motor, AB, 844 F.2d 769, 771 n.2, 773 (11th

   Cir. 1988)), aff’d, 601 F. Supp. 2d 1313 (M.D. Fla. 2009).

              Additionally, such testimony—even if it is limited to the accounting context—is likely to

   confuse jurors and possibly even cause them to conflate the legal standards related to corporate

   relationship and control with those of the accounting industry. Courts in this Circuit have

   excluded evidence in similar circumstances, where the proffered evidence is likely to cause

   confusion or mislead a jury because it speaks to a concept or principle in one context that is

   ostensibly similar but actually distinct from a specific legal concept or standard in the different

   context of the litigation. See, e.g., id; Montgomery v. Brickell Place Condo. Assn, Inc., No. 11-

   24316-CIV, 2012 WL 1203837, at *1-2 (S.D. Fla. Apr. 11, 2012) (Goodman, J.) (excluding

   EEOC letter finding “reasonable cause” to believe discrimination occurred given that the

   EEOC’s standard of proof on that finding was “less than … the standard necessary to prevail in a



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   civil trial, [and] the EEOC letter may sow confusion as to the proper burden of proof and mislead

   the jury as to what weight it should give the EEOC letter”); Aetna Cas. & Sur. Co. v. Gosdin,

   803 F.2d 1153, 1160 (11th Cir. 1986) (noting that “the different standards of proof between a

   criminal prosecutorial decision and a civil case might mislead the jury”); Rozier v. Ford Motor

   Co., 573 F.2d 1332, 1347-48 (5th Cir. 1978) (excluding guilty plea where auto driver admitted

   he “did cause the death of” plaintiff’s husband due to the risk of confusion it would create with

   the concepts of legal cause and duty in the context of the “second collision” doctrine which was

   central to plaintiff’s suit).

              Testimony regarding “related party” status in the accounting context should be excluded

   because, far from being “essential to proving [Benlida’s] claim,” it at best “is intended merely to

   bolster” Benlida’s argument that CTX-HK’s transactions should be factored into any

   determination of Benlida’s damages in the case. Brown v. Davis, 656 F. App’x 920, 922 (11th

   Cir. 2016) (explaining that testimony that is “intended merely to bolster a party’s case is more

   easily excluded under [Rule] 403 than testimony that forms a critical part of the case). That such

   testimony would almost certainly be duplicative of other witness or documentation Benlida will

   seek to introduce in an effort to show that CTX and CTX-HK are generally “related” provides

   further support for exclusion. See Fed. R. Evid. 403 (providing for exclusion based on danger of

   “needlessly presenting cumulative evidence” outweighing probative value of evidence); Noel

   Shows, Inc. v. U.S., 721 F.2d 327, 330 (11th Cir. 1983) (excluding evidence under Rule 403

   because “its confusing and cumulative effect substantially outweighed its probative value” where

   the appellant had sought to introduce it for the same proposition that multiple witnesses had

   already testified to).




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              To avoid the risk that this irrelevant and potentially confusing testimony regarding

   “related party” status from CTX’s experts “may be assigned talismanic significance in the eyes

   of lay jurors,” Frazier, 387 F.3d at 1263, the Court should exclude their deposition answers in

   response to questioning regarding “related party” status in the accounting context and disallow

   similar questioning to elicit such testimony at trial.

              6. Assertions Contradicting Benlida’s Judicial Admissions

              Based on Benlida’s admission in its answer to CTX’s counterclaim, Benlida should be

   precluded from arguing at trial that (a) CTX-HK was not made a party to the Manufacturing

   Agreement between Benlida and CTX in the 2016 Letter Agreement or (b) Benlida never

   instructed CTX to divert any payments for Benlida invoices to ROK. The applicable allegations

   in the counterclaim and Benlida’s answer thereto are:

                                 CTX’s Counterclaim                                                        Benlida’s Answer [DE
                                        [DE 34]                                                                     43]
                ¶ 3: “The parties subsequently entered into a Letter
                Agreement, dated July 21, 2016, that added                                                        ¶ 3: “Admit.”
                Circuitronix Hong Kong, Ltd. (“CTX-HK”) as an
                additional party to the Manufacturing Agreement,
                among other things.”
                ¶ 30: “In some cases, Benlida has instructed CTX to
                make payments for Benlida invoices to its affiliate,                                             ¶ 30: “Admit.”
                ROK.”

              Based upon the parties’ Local Rule 7.1(a)(3) conferral, CTX understands that Benlida

   does not contest this aspect of CTX’s motion. For the sake of completeness, we note that these

   binding admissions would preclude Benlida from arguing or introducing evidence to the

   contrary.

              “The general rule is that a party is bound by the admissions in his pleadings.”
              Cooper v. Meridian Yachts, Ltd., 575 F.3d 1151, 1177 (11th Cir. 2009) (citations
              and quotations omitted). “Indeed, facts judicially admitted are facts established
              not only beyond the need of evidence to prove them, but beyond the power of
              evidence to controvert them.” Id. at 1178.


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   Aligned Bayshore Holdings, LLC v. Westchester Surplus Lines Ins. Co., No. 18-21692-CIV,

   2020 WL 564037, at *2 (S.D. Fla. Feb. 5, 2020) (Scola, J.).16

              It also bears mention that Benlida took a contrary position with respect to its

   interpretation of the 2016 Letter Agreement in opposition to CTX’s pending motion for summary

   judgment. There, Benlida argued that “CTX-HK has never been a party to the Manufacturing

   Agreement” (DE 188 at 12) and denied that the 2016 Letter Agreement added CTX-HK as a

   party to the Manufacturing Agreement (DE 189, ¶ 9). Those contentions are flatly inconsistent

   with Benlida’s prior express admission, in response to CTX’s counterclaim, that the Letter

   Agreement added CTX-HK as an additional party to the Manufacturing Agreement. See chart

   above. However, in connection with this motion in limine, CTX understands that Benlida now

   concedes that CTX-HK was made a party to the Manufacturing Agreement on July 21, 2016.

              Thus, the Court should enter an order in limine precluding argument or evidence

   contradicting both of the uncontested averments in the chart above.

              7. References to the Parties’ Other Lawsuits or Alleged Litigiousness

              The parties have agreed, through their conferral, that neither party should reference other

   lawsuits involving the other or the other’s alleged litigiousness. This restriction finds support in

   the law.17 The Court should include this two-way restriction in its order in limine.


   16
       Further, Benlida separately admitted that the 2016 Letter Agreement added CTX as a party to
   the Manufacturing Agreement when CTX raised the admission from Benlida’s answer to the
   counterclaim in CTX’s opposition statement of material facts to Benlida’s February 2022 motion
   for partial summary judgment. DE 56 at 4, ¶ 12. Benlida opted not to file a reply in support of
   its motion, or a reply statement of material facts contesting CTX’s additional facts and instead
   withdrew its motion for partial summary judgment. DE 63. Benlida’s failure to controvert the
   additional fact of Benlida’s prior admission that the 2016 Letter Agreement added CTX-HK as a
   party to the Manufacturing Agreement was also binding. See S.D. Fla. Local R. 56.1(c).
   17
     Such evidence is highly prejudicial and not probative to any of the parties’ claims. See Fed. R.
   Evid. 403; see also Hydentra HLP Int. Ltd. v. Luchian, No. 1:15-CV-22134-UU, 2016 WL

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              8. The 2022 Settlement Agreement and CTX’s Termination Thereof

              The parties have likewise agreed, through their conferral, that neither party should

   reference their settlement agreement and its termination dated November 17, 2022. The parties

   agree to instruct their witnesses to refer to the stay of the case in lieu of the settlement or

   termination to refer to events during the time period or work and analysis completed during the

   time period between approximately June 2022 and April 2023, as necessary. The parties’

   agreement as to this restriction helps assure, among other things, that they will not run afoul of

   Rule 408. The Court should include this limitation in its order in limine.

              9. Benlida’s (or ROK’s) Entire Print-Run of Invoices

              Benlida has advised CTX that it seeks to introduce its “entire print-run of invoices,”

   meaning all of the invoices Benlida (and possibly also ROK) has ever issued to both CTX and

   CTX-HK, which it wishes to use in support of its claim for account stated. That print run, as

   Benlida has represented to CTX, would extend back to 2012. For several reasons, these

   documents, as well as testimony and argument concerning them, should be prohibited, save for

   the specific invoices Benlida issued to CTX which Benlida is claiming remain unpaid (that are

   not time-barred debts).




   5942525, at *2 (S.D. Fla. May 31, 2016) (“‘[T]he charge of litigiousness is a serious one, likely
   to result in undue prejudice against the party charged, unless the previous claims made by the
   party are shown to have been fraudulent’”) (quoting Outley v. City of New York, 837 F.2d 587,
   592 (2d Cir. 1988)); Energy Smart Indus., LLC v. Morning View Hotels-Beverly Hills, LLC, No.
   14-CV-23284-UU, 2015 WL 11233085, at *1 (S.D. Fla. June 4, 2015) (excluding evidence of
   prior similar lawsuits as irrelevant under Rule 402 since defendant seeking to use the evidence
   “d[id] nothing to show that [plaintiff’s] actions [we]re baseless” or that “[p]laintiff breached its
   contract with [d]efendant”); Bui v. Minority Mobile Sys., Inc., 2016 WL 6518804, at *1 (S.D.
   Fla. 2016) (excluding prior employee lawsuits, noting that “the effect of raising a prior employee
   lawsuit would effectively create a ‘mini-trial’ about the merits of the previous case and other
   ‘collateral issues’ that may not relate to the present case).

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              First, the invoices to CTX-HK should be excluded for the reasons stated in Section 2,

   supra.

              Second, any invoices to CTX beyond those which Benlida is claiming remain unpaid are

   irrelevant and would only potentially confuse the jury concerning the amount of money at issue

   on Benlida’s claims. Benlida itself previously acknowledged that “each allegation as to each

   unpaid invoice could itself suffice as a properly pled claim for breach of contract.” DE 28 at 10.

   The same is no doubt true for a claim of account stated with respect to a particular invoice.18

   And the Court has recognized that “the invoices identified in Benlida’s complaint … comprise

   the entire subject matter of this action.” DE 31 (Order) at 4 n.2.19 Those invoices to CTX span

   one-year: December 29, 2018 through December 18, 2019. See DE 26, ¶¶ 13, 259. Benlida

   should not be permitted to go beyond that and introduce hundreds if not thousands of invoices

   dating back to 2012.

              Third, if Benlida also seeks to introduce invoices from ROK, that should also be

   precluded because ROK is not a party to this case, no ROK invoices are being sued upon, and as

   the Court observed early in the case, Benlida has “explicit[ly] acknowledge[ed] that ‘all of the

   moneys owned by Circuitronix are owed to Benlida, not ROK.’” DE 31 (Order) at 3, n.1

   (quoting DE 29-3 (Decl. of Juang Hanchao), ¶ 4).



   18
      Insofar as Benlida might respond that it needs the older invoices in evidence to show the jury
   how it calculated that the invoices itemized in the complaint are the ones that allegedly went
   unpaid, based on Benlida’s accounting methodology, that justification falls short because Benlida
   failed to disclose its commingled-FIFO methodology and should be barred from relying upon it
   as a result. See DE 193 at 7-8 (summary-judgment papers arguing that “Benlida should be
   barred from relying on a commingled-FIFO methodology as a sanction”) (capitalization altered);
   DE 184-1 at 13-15 (same).
   19
     The Court said that in its order on a motion to dismiss, before CTX filed its counterclaim (DE
   34), which expanded the subject matter of the action. But the Court’s observation remains no
   less true concerning the subject matter of Benlida’s claims.

                                                                              19
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                                                                   CONCLUSION

              For all of these reasons, CTX respectfully requests that the Court enter an Order

   precluding Benlida from introducing evidence or arguing about the following categories of

   evidence:

              1. Any computation of Benlida’s damages beyond that pled in the complaint, including
                    documents and testimony regarding how Benlida was applying CTX’s payments to
                    outstanding invoices;
              2. Debts CTX-HK allegedly owes to Benlida, including through:
                         (a)      invoices Benlida issued to CTX-HK,
                         (b)      two documents from CTX-HK’s outside auditing firm referencing debts
                                  owed to Benlida,
                         (c)      testimony or arguments that CTX and CTX-HK somehow operate as the
                                  same company, and
                         (d)      the 2014 Business Authorization and any argument it authorized Benlida to
                                  look to CTX to pay CTX-HK’s debts;
              3. Debts barred by the statute of limitations, i.e.,
                         (a)      with respect to the breach of contract claim (Count I), invoices to CTX listed
                                  in paragraphs 13-36 of the TAC and invoices to CTX-HK listed in and
                                  paragraphs 261-282 of the TAC; and
                         (b)      with respect to the account stated claim (Count II), invoices to CTX listed in
                                  paragraphs 13-66 of the TAC and invoices to CTX-HK listed in and
                                  paragraphs 261-298 of the TAC;
              4. Records of CTX’s account that Benlida did not produce during discovery;
              5. CTX’s experts’ deposition testimony regarding “related party” status or
                    attempts to elicit the same testimony from them at trial;
              6. Assertions or testimony contradicting Benlida’s judicial admissions;
              7. References to other lawsuits involving either of the parties or their alleged
                    litigiousness;
              8. The 2022 settlement agreement and CTX’s termination thereof; and
              9. Benlida’s (or ROK’s) entire print-run of invoices.

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                                   REQUEST FOR HEARING UNDER RULE 7.1(b)(2)

              CTX hereby requests a hearing on this motion given the highly fact-intensive nature of

   some of the categories of evidence sought to be excluded. The Court may benefit from a

   colloquy with counsel regarding the more fact-based categories of evidence and pertinent

   underlying documents. CTX estimates one hour—or around 10 minutes per disputed category—

   will be sufficient for the parties to address the motion.


                                   CERTIFICATE OF RULE 7.1(a)(3) CONFERENCE

              Undersigned counsel for CTX has conferred with counsel for Benlida in a good faith

   effort to resolve the issues raised in the motion. The parties were able to reach agreement on

   several issues, as discussed in the motion above. As to the remaining issues, the parties were

   unable to resolve their conflicting positions.

   Dated: August 8, 2023

                                                               Respectfully submitted,

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                                                      CERTIFICATE OF SERVICE

              I HEREBY CERTIFY that a true copy of the foregoing has been served via transmission

   of Notices of Electronic Filing generated by CM/ECF on August 8, 2023 as filed with the Clerk of

   the Court using CM/ECF.

                                                                                      By: /s/ Stephen F. Rosenthal           .
                                                                                             Stephen F. Rosenthal




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